Case 1:21-cr-00229-RBJ Document 33-1 Filed 08/10/21 USDC Colorado Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Criminal Case No. 21-cr-0229-RBJ

UNITED STATES OF AMERICA,

                      Plaintiff,

v.

     1. DAVITA INC.,

     2. KENT THIRY,

                      Defendants.



                       (PROPOSED) ORDER SETTING CASE SCHEDULE


       Having reviewed the parties’ stipulation, the Court ORDERS that the following schedule

shall govern the proceedings in this matter:




                                               1
Case 1:21-cr-00229-RBJ Document 33-1 Filed 08/10/21 USDC Colorado Page 2 of 3




                                     CASE SCHEDULE

                          Event                                Date
     DaVita Corp. Disclosure Statement                      8/23/2021

     Motion to Dismiss filing deadline                      9/14/2021

     Government's Rule 16 production deadline               9/20/2021

     Government's response to MTD                           10/19/2021

     Defendants' Rule 16 production deadline                10/20/2021

     Defendants' reply re MTD                               11/2/2021

     Oral argument on MTD                                   11/19/2021

     All other motions deadline                             12/3/2021

     Motions in Limine, including under FRE 702             12/17/2021

     Response to all other motions                           1/7/2022

     Responses to Motions in Limine                         1/14/2022

     Production of 18 U.S.C. 3500 material, Witness         1/24/2022
     Lists, Exhibit Lists

     Supplemental Motions in Limine relating to 3500         2/7/2022
     material, Witness and Exhibit Lists

     Proposed Voir Dire, Jury Charge                         2/7/2022

     Responses to Supplemental Motions in Limine            2/21/2022

     General Motions Hearing                                 3/3/2022

     Trial                                             3/28/2022 - 4/15/2022


DATED this _____ day of August, 2021.


                                               2
Case 1:21-cr-00229-RBJ Document 33-1 Filed 08/10/21 USDC Colorado Page 3 of 3




                                          BY THE COURT:

                                          __________________________________
                                          R. Brooke Jackson
                                          United States District Judge




                                      3
